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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                            Criminal No. 07-297(1)) (DWF/JSM)

                     Plaintiff,

v.                                                     ORDER AND MEMORANDUM
                                                         REGARDING MOTION FOR
Marquise Laguan Bowie,                                  REDUCTION OF SENTENCE
                                                        UNDER TITLE 18 § 3582(C)(2)
                     Defendant.




                                   INTRODUCTION

       This matter is before the Court on Defendant Marquise Laguan Bowie’s

(“Defendant”) motion for a reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) and

U.S.S.G. § 1B1.10 and the new sentencing guidelines’ applicable to drug offenses. (Doc.

No. 869.) Specifically, the Defendant seeks an order reducing his sentence from

175 months to 144 months. The Government does not oppose Defendant’s motion to the

extent that he seeks a reduction to 168 months, but it opposes his request for a sentence

for less than 168 months. (Doc. No. 872.)

                                    BACKGROUND

       On August 22, 2007, the Defendant and eleven other co-defendants were charged

in a 40-count Indictment in the District of Minnesota with Conspiracy to Distribute and

Possess with Intent to Distribute 50 grams or more of cocaine base from at least 1990

through August 2007, in violation of 21 U.S.C. §§ 841(a)(1), 8421(b)(1)(A), and 846.
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On February 1, 2008, the Defendant pled guilty to Count 1 of the Indictment which

charged him with Conspiracy to Distribute Crack. Eight of the co-defendants pled guilty

to Count 1.1 Defendant faced a mandatory minimum sentence of 120 months. On

March 12, 2009, the Court sentenced Defendant to a term of imprisonment of 175

months, followed by 5 years of supervised release. The sentence of 175 months was

based on a departure of 24 months pursuant to § 5K2.23 (Discharged Terms of

Imprisonment), and an additional 11 months to account for Defendant’s pretrial custody

in the Sherburne County Jail, to reflect the nature, circumstances, seriousness of the

offense, in addition to affording adequate general deterrence and to avoid any

unwarranted sentencing disparities. Defendant appealed his sentence, challenging his

conviction and sentence, and the Eighth Circuit affirmed. United States v. Bowie, 618

F.3d 802 (8th Cir. 2010), cert. denied, 131 S. Ct. 954 (2011). According to the Bureau of

Prisons, Defendant’s projected release date is July 5, 2020. The Court’s starting point at

the time of sentencing was 210 months, the bottom of the advisory guideline range.

       On January 24, 2012, the Defendant filed a pro se letter asking for a sentence

reduction, based on the 2010 amendments to the crack cocaine guidelines. The Court

appointed counsel to represent the Defendant, and a second motion for sentence reduction

was filed on his behalf. The Court denied the motion, finding the Defendant was




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              On September 5, 2008, the only co-defendant to go to trial, Joe Darrell
Edwards, Jr., was convicted after a bench trial on Counts 1 and 2 of the indictment.

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ineligible for a reduction pursuant to 18 U.S.C. § 3582(c) because his guideline range had

not been reduced. The Defendant did not appeal the Court’s order.

      On March 12, 2015, the Defendant filed another pro se motion for a sentence

reduction based on the 2014 amendments to the sentencing guidelines for drug offenses.

Counsel was again appointed for the Defendant by the Court, and the Defendant filed a

second motion for a sentence reduction on October 16, 2015.

      The Defendant recognizes his amended guideline range has been reduced from 210

to 262 months to 168 to 210 months. Moreover, the Court would suggest, as observed by

the Government, that the Defendant recognizes that the “general language” of Guideline

Section 1B1.10(b)(2) prohibits a sentence reduction below the bottom of the amended

guideline range, in this case, 168 months. The Defendant nonetheless asserts, as did his

co-defendant, Maurice Jabbar White, Crim. No. 07-297(1) (DWF/JSM), that this Court

must still reduce the sentence to 144 months, giving credit for 24 months below the

bottom of the amended guideline range as credit for time served pursuant to § 5K2.23 in

recognition of the time that the Defendant already served on cases that were inseparable

from the federal case. (Doc. No. 535, Sentencing Transcript 3-5, 58.)

      Both parties agree that pursuant to Amendment 782 of the United States

Sentencing Guidelines, the Sentencing Commission has reduced the applicable guideline

range for drug cases. Under those guidelines, the Defendant’s guideline range, as noted

above, is 168 to 210 months. The Defendant is now before the Court asserting that the

Court should consider the unique circumstances of his case and reduce the sentence an

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additional 24 months for time already served that the Bureau of Prisons refused to honor.

The Government opposes that aspect of the Defendant’s motion, asserting that the Court

is without authority to do so and that the Court should only reduce the sentence to

168 months.

                                       DISCUSSION

       Pursuant to 18 U.S.C. § 3582(c)(2):

       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o), upon
       motion of the defendant or the Director of the Bureau of Prisons, or on its
       own motion, the court may reduce the term of imprisonment, after
       considering the factors set forth in section 3553(a) to the extent that they are
       applicable, if such a reduction is consistent with applicable policy
       statements issued by the Sentencing Commission.

       The exception of subsection (c)(2), as observed by both parties, for sentencing

ranges which have been lowered by the Sentencing Commission, allows this Court to

reduce the Defendant’s sentence to the bottom of his amendment guideline range, namely,

168 months. It is at this juncture that the parties part company. The Government asserts

that any further reduction would violate 18 U.S.C. § 3582(c) because it would contradict

the policy statement of the Sentencing Commission set forth in U.S.S.G.

§ 1B1.10(b)(2)(A). Specifically, the Sentencing Commission limited any sentencing

reductions under U.S.S.G. § 1B1.0 and 18 U.S.C. § 3582(c)(2) to the bottom of the

amended guideline range unless the downward departure motion by the Government was




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previously granted based on the Defendant’s substantial assistance to the Government.

Section 1B1.10(b)(2) provides, in relevant part, as follows:

       (2)    Limitations and Prohibition on Extent of Reduction.--

              (A)    Limitation.–Except as provided in subdivision (B), the court
                     shall not reduce the defendant’s term of imprisonment under
                     18 U.S.C. § 3582(c)(2) and this policy statement to a term that
                     is less than the minimum of the amended guideline range
                     determined under subdivision (1) of this subsection.

              (B)    Exception for Substantial Assistance.–If the term of
                     imprisonment imposed was less than the term of
                     imprisonment provided by the guideline range applicable to
                     the defendant at the time of sentencing pursuant to a
                     government motion to reflect the defendant’s substantial
                     assistance to authorities, a reduction comparably less than the
                     amended guideline range determined under subdivision (1) of
                     this subsection may be appropriate.

U.S.S.G. § 1B1.10(b)(2)(A)-(B). Consequently, there appears to be one single exception

for imposing a sentence that is less than the minimum of the amended guideline range,

and that exception is the cooperating defendant.

       However, the Defendant asserts that, given the unique circumstances of this case,

the Court should reduce his sentence to 144 months. Specifically, the Defendant asserts

that just as the Court gave him “credit” for the 24 months of already served time that the

Bureau of Prisons will not “credit” him for by reducing his sentence to 144 months from

168 months, the Court should now reduce his sentence from the 168-month bottom of the

range sentence to 144 months.




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       The Defendant acknowledges that the Sentencing Commission concluded that

downward departures and variances given at a defendant’s original sentencing should not

be recreated in determining a sentence reduction pursuant to § 3582(c) and the new

guidelines for crack cases. See U.S.S.G. § 1B1.10. The defense also acknowledges that

an exception was carved out to this prohibition for downward departures if it was based

upon cooperation, as noted above. However, the Defendant is before this Court asserting

that “credit” can and should be given, pursuant to U.S.S.G. § 5K2.23, for time the

Defendant already served in a discharged term of imprisonment because it presents a

unique exception to the rule and would authorize and permit a sentence of 144 months.

       There is no dispute that the Bureau of Prisons will not give “credit” against a

federal sentence for a previously served sentence even if two cases are fully intertwined

and even in the case of an explicit court order mandating that such “credit” should be

granted. Consequently, the defense argues that if all parties know that, then there is no

mechanism left for granting that “credit” other than reducing the federal sentence

pursuant to U.S.S.G. § 5K2.23, as the Court did in this case at the time of sentencing.

The Defendant asserts that such an adjustment is not and was not a departure or variance

in the “traditional sense.” Instead, the defense argues that it is a calculation of proper

“credit” for time served that the Bureau of Prisons will not grant. Consequently, the

Defendant asserts that this unique circumstance presents an exception to the general

language of U.S.S.G. § 1B1.10.



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       In so asserting, the defense has cited to United States v. Malloy, 845 F. Supp. 2d

475 (N.D.N.Y. 2012). It is true that the district court judge in Malloy rejected the

argument that a downward reduction, pursuant to U.S.S.G. § 5K2.23, cannot be granted in

a § 3582(c) resentencing.

       Thus, when considered in conjunction with its application note,
       § 1B1.10(b)(2) is unambiguous; it bars a reduction, whether by departure or
       variance, that imposes a term of imprisonment below the minimum of the
       amended guideline range. It does not, however, address a situation, such as
       this one, where the defendant was given credit for relevant conduct.

Malloy, 545 F. Supp. 2d at 482.

       In the same vein, the Defendant respectfully requests that this Court resentence

him to 144 months, with all other conditions remaining the same, because it would be a

fair recognition that the Defendant was given “credit” for relevant conduct for prison time

already served; in this case, 24 months.

       The Government opposes in all respects this analysis by the Defendant. The

Government correctly observes that the Defendant has recast or reclassified the Court’s

downward departure pursuant to U.S.S.G. § 5K2.23 as a “credit,” not a departure.

Moreover, it is accurately observed by the Government that the defense has referred to

the 24-month reduction as an “adjustment,” and, therefore, not a departure or variance in

the “traditional sense.” Simply put, the Government asserts that the Court’s departure

was a departure. However, the Government also asserts that even if the Court had

referred to the departure as a “downward credit,” the below guideline sentence would

nonetheless be either a variance or departure pursuant to 18 U.S.C. § 3582(c)(2) and

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U.S.S.G. § 1B1.10. U.S.S.G. § 1B1.1 defines a departure as “any sentence above or

below the applicable guideline range which is based on a provision of the sentencing

guidelines.”

       As noted above, there is no question that once a sentence has been imposed, a

district court may not modify the sentence except as permitted in 18 U.S.C. § 3582(c). As

the Eighth Circuit observed in United States v. Harris, 688 F.3d 950, 952 (8th Cir. 2012),

“a district court may lower a defendant’s sentence below the amended guidelines range

only if the original sentence was below the original guidelines range because the

defendant provided substantial assistance to the government.”

       The Government has set forth a number of cases, not only in the Eighth Circuit,

but across the country, where the only exception allowed to the prohibition set forth in

U.S.S.G. § 1B1.10(b)(2)(A) was for substantial assistance motions.

       The Court has carefully reviewed the record before the Court, including the Malloy

opinion cited by the defense. The Court also understands what caused the court in Malloy

to do what it did, namely, reaching a fair and just result or, in the words of the district

court judge: “To deny the credit in Mr. Malloy’s case ‘would be, simply put,

inequitable.’” In Malloy, the court felt that, given the unique facts of the case, that justice

required the court to make a distinction between a departure or variance and credit for

time served. In making that distinction, the court concluded that it had the authority to

reduce Mr. Malloy’s sentence below the newly applicable guideline range because of the



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sentence that he had already served and that the Bureau of Prisons would decline to

credit. Id. at 483-485.

       The Court concludes, as the Court did in United States v. Shows, 2015 WL

2341031 (E.D. Tenn. May 14, 2015), that it is statutorily bound by 18 U.S.C. § 3582 and

therefore without authorization or jurisdiction to impose a reduced sentence inconsistent

with applicable policy statements issued by the Sentencing Commission such as U.S.S.G.

§ 1B1.10. For these reasons, the Court will respectfully deny the Defendant’s motion and

impose a sentence of 168 months.

       However, while the Court concludes that it has followed the law, that is not

tantamount to stating that it has reached a fair and just decision. Frankly speaking, the

Court does not believe that 18 U.S.C. § 3582 or U.S.S.G. § 1B1.1 contemplated a

situation, like the one before the Court, where the Defendant was given “credit” for

relevant conduct. The Court is not convinced that it has reached a fair and just result,

even though it has followed the law in this unique circumstance.

                                     CONCLUSION

       Based upon the presentations and submissions of the parties, the Court having

carefully reviewed the entire record in this matter, and the Court being otherwise duly

advised in the premises, the Court hereby enters the following:




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                                          ORDER

      1.     Defendant Marquise Laguan Bowie’s motion for a reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2), U.S.S.G. § 1B1.10, and the new sentencing

guidelines applicable to drug offenses (Doc. No. [869]) is respectfully GRANTED IN

PART and DENIED IN PART as follows:

             a.     Defendant is eligible for a sentence reduction from

      175 months to 168 months and, to that extent, the Court has granted the

      Defendant’s motion.

             b.     To the extent that the Defendant has requested an additional

      24-month credit for a reduction to 144 months, that motion request is

      respectfully denied by the Court.



Dated: February 19, 2016         s/Donovan W. Frank
                                 DONOVAN W. FRANK
                                 United States District Judge




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